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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )
                                         )                  8:05CR139
      vs.                                )
                                         )                   ORDER
DENNIS E. CAMPBELL,                      )
                                         )
                   Defendant.            )



       This matter is before the court on defendant's unopposed MOTION TO CONTINUE
FILING PRETRIAL MOTIONS [45]. For good cause shown, I find that the motion should
be granted. The defendant will be given the requested approximate 14-day extension.
 Pretrial Motions shall be filed by September 21, 2005.

      IT IS ORDERED:

       1.    Defendant's UNOPPOSED MOTION TO CONTINUE FILING PRETRIAL MOTIONS
[45 is granted. Pretrial motions shall be filed on or before September 21, 2005.

       2.      The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time
between September 6, 2005 and September 21, 2005, shall be deemed
excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant's counsel required additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty
and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

      DATED 7th day of September, 2005.

                                       BY THE COURT:


                                       s/ F.A. Gossett
                                       United States Magistrate Judge
